70 F.3d 1260
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Alfonza Leonard ARTIS, Sr., Petitioner-Appellant,v.Ellis B. WRIGHT, Warden, Respondent-Appellee.
    No. 95-6803.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  November 16, 1995.Decided:  November 30, 1995.
    
      Alfonza Leonard Artis, Sr., Appellant Pro Se.  Robert B. Condon, Assistant Attorney General, Richmond, VA, for Appellee.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Artis v. Wright, No. CA-94-423 (E.D.Va. May 10, 1995).  We deny Appellant's motion to expedite appeal as moot.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    